
8 Mich. App. 485 (1967)
154 N.W.2d 667
PEOPLE
v.
AMY.
Docket No. 2,527.
Michigan Court of Appeals.
Decided November 30, 1967.
*486 Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, and James J. Epskamp, Prosecuting Attorney.
Richard F. Kern, for defendant on appeal.
LEVIN, J.
The appellant here was convicted of breaking and entering with intent to commit a felony[*] on his plea of guilty. He and William Carl McCulloch were involved in the same crime and the same claims of error are asserted as in McCulloch's case. The transcript and record in People v. McCulloch (1967), 8 Mich App 481, are in all material respects identical with this case. For the reasons set forth in McCulloch the judgment in this case is affirmed.
T.G. KAVANAGH, P.J., and SULLIVAN, J., concurred.
NOTES
[*]  CL 1948, § 750.110, as amended by PA 1964, No 133 (Stat Ann 1965 Cum Supp § 28.305).

